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Attorneys for Plaintiff


                UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY
                       (TRENTON DIVISION)
______________________________________x

AMRIT MULA,
                                                  COMPLAINT
      Plaintiff,


v.                                                No.
                                                  Jury Trial Demanded: Yes
ELI LILLY AND CO.,

     Defendant.
_______________________________________x
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      Plaintiff, AMRIT MULA, by and through her undersigned counsel, by way

of Complaint against Defendant ELI LILLY AND CO., seeks relief for violations

of laws protecting an employee acting as a whistleblower from unlawful retaliation

under the New Jersey Conscientious Employee Protection Act, N.J.S.A. § 34:19-1

et seq. In support of her Complaint, Plaintiff states as follows:

                                 INTRODUCTION

      1.     Plaintiff Amrit Mula (“Ms. Mula” or “Plaintiff”) was a productive and

well-regarded employee of the Defendant Eli Lilly and Co. (“Lilly” or “Defendant”)

as an Associate Director of Employee Relations working in Branchburg, New

Jersey. However, beginning in August 2018 and continuing until her termination,

Ms. Mula began to investigate employee complaints of serious violations of U.S.

Food and Drug Administration (“FDA”) regulations in the manufacturing of Lilly

pharmaceutical drugs. Among other things, Ms. Mula witnessed and reported Lilly

employees failing to adhere to current Good Manufacturing Practices (“cGMPs”);

failing to comply with FDA-mandated standard operating procedures (“SOPs”);

failing to report batch contaminations; improperly disposing of caustic substances

into waterways; and falsifying quality assurance testing. In particular, the failures of

production Plaintiff observed and reported were primarily related to the sale of

blockbuster Type 2 diabetes medication, Trulicity. Throughout the course of her

investigations, Lilly officials continually told Ms. Mula to stop her investigations or


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underplay the severity of the violations she uncovered. After Ms. Mula repeatedly

pressured site leadership to remedy these serious legal and compliance violations,

Lilly executives responded by marginalizing, harassing, and eventually terminating

her position under false pretenses on or about March 28, 2019.

      2.     As a result of Lilly’s unlawful termination of Ms. Mula disguised as a

job elimination, she has suffered loss of pay, benefits, emotional distress, and serious

damage to her career. Plaintiff brings her claims as a whistleblower subjected to

unlawful retaliation in violation of the New Jersey Conscientious Employee

Protection Act, N.J.S.A. § 34:19-1 to -14 (“CEPA”).

                         JURISDICTION AND VENUE

      3.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332 because there is complete diversity between the parties in this civil action and

damages in this case exceed $75,000.00, exclusive of interest and costs.

      4.     Venue is proper in this district pursuant to 29 U.S.C. § 1132(e)(2) as

some or all wrongful acts occurred in this District and Defendant operated its

Branchburg Site within this District.

                                        PARTIES

      5.     Ms. Mula is a citizen of the State of Pennsylvania.

      6.     Defendant Lilly is an Indiana corporation, with its principal place of

business located at 893 S Delaware St Indianapolis, Indiana 46225. At all times


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relevant herein, Defendant Lilly operated a Branchburg, New Jersey location where

Plaintiff was employed.

        7.    Defendant Lilly is a pharmaceutical company subject to regulation by,

inter alia, the United States Government (the “Government”), including the FDA

and the Occupational Safety and Health Administration (“OSHA”). Additionally,

Defendant Lilly is an employer with thousands of employees worldwide.

                           FACTUAL ALLEGATIONS

        8.    At all times relevant herein, Plaintiff Mula has been a competent human

resources professional in the pharmaceutical industry, with nearly fifteen years of

experience. Plaintiff began working for ImClone Systems on July 21, 2004, and

became a Lilly employee when it acquired ImClone Systems in or around November

2008.

        9.    At all times relevant herein, Plaintiff worked in Lilly’s Branchburg,

New Jersey location which includes a 250,000 square foot, state-of-the-art multi-

product manufacturing facility, the largest of its kind in the biotech industry

(“Branchburg Site”).

        10.   Throughout Ms. Mula’s employment with ImClone and Lilly, she

demonstrated that she was a competent employee, receiving four promotions and

four achievement awards for achieving high priority initiatives. Prior to her




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termination, Ms. Mula never received any proposed or actual disciplinary action,

official reprimands, or unsatisfactory performance evaluations.

      11.    In or around 2011, Ms. Mula was promoted to Associate Director of

Employee Relations. It was from this position she was terminated. Her duties in

this role included conducting investigations in response to employee concerns, such

as violations of rules and regulations. She thus frequently worked with Lilly’s Ethics

and Compliance, Security, and Legal and Global Investigations Departments.

      12.    Beginning in or around 2016, Ms. Mula reported to Richard Ruth (“Mr.

Ruth”), Director of Employee Relations, who was based in Lilly’s headquarters in

Indianapolis, Indiana.

      13.    In or about January 2017, Victor Cruz (“Mr. Cruz”) became the Vice

President of Biopharmaceutical and Operations at the Branchburg Site. He brought

with him a longtime confidante and friend Efraim Ortiz (“Mr. Ortiz”), Associate

Vice President for Human Resources, who also reported to Mr. Cruz.

                August 2018 cGMP and Falsification Investigations

      14.    Beginning in 2018, Ms. Mula began investigating a series of allegations

related to violations of the FDA’s cGMP occurring at the Branchburg Site as part of

its production of Cetuximab (“Erbitux”); Ramucirumab (“Cyramza”); Olaratumab

(“Lartruvo”); and Dulaglutide (“Trulicity”). These alleged violations seemed to

stem from the policies implemented by, and a culture created under, the leadership


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of Mr. Cruz and Mr. Ortiz. Although Ms. Mula’s insistence on thorough

investigations and documenting noncompliance frequently created tension with Mr.

Cruz and Mr. Ortiz throughout 2018, these tensions started to grow increasingly

untenable beginning in August 2018.

      15.      In or around August 2018, Ms. Mula conducted a data integrity

investigation pursuant to an instruction from Vice President of Quality Lydia Wible

(“Ms. Wible”). This investigation revealed that at least seven employees falsified

records and that the Manufacturing Department was consistently overdue on cGMP

trainings.

      16.      As for the falsified records, Ms. Mula uncovered that several

Branchburg Site employees repeatedly recorded that SOPs were performed while

knowing that a required step had been intentionally omitted and then misrepresented

data was being recorded in cGMP documents. The omitted requirement was part of

the FDA-approved SOPs in the storage of flammable materials used to manufacture

Lilly drugs.

      17.      As for the trainings, Ms. Mula discovered that not only had employees

failed to complete these mandatory cGMP trainings, but that the Learning and

Development Department, overseen by Mr. Ortiz, failed to capture the missed

trainings in Lilly’s cGMP training tracking system. Some of these employees had

missed over a year’s worth of mandatory trainings. Despite this, Lilly told regulators


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during this period that its employees were up to date and compliant with training

requirements.

      18.    Ms. Mula alerted Ms. Wible and Mr. Cruz to the falsification and

training issues. They asked Ms. Mula to designate these incidents as “performance

issues” in Lilly’s Human Resources and Quality Tracking Databases, as opposed to

recording them as cGMP violations. If the issues had been recorded as cGMP

violations, they could be identified by regulatory agencies during site inspections.

      19.    Ms. Mula refused to comply with Ms. Wible’s and Mr. Cruz’s directive

as she believed it violated Lilly’s regulatory reporting obligations.      Mr. Ortiz

subsequently told Ms. Mula that he and the Vice President of Manufacturing

Elizabeth Gosen (“Ms. Gosen”) agreed with classifying the issues as “performance

issues,” and asked her to reconsider.

      20.    On August 7, 2018, during a meeting with Ms. Gosen, Ms. Wible,

Warehouse Manager Sally Christensen, and Associate Director of Quality and

Compliance Michael Cox, Ms. Gosen asked that Ms. Mula refrain from referring to

the incidents as “falsifications” moving forward, both verbally and in writing. Ms.

Gosen then stated she would discuss the matter with Mr. Ortiz and Mr. Cruz and

asked Ms. Mula to close her investigation as soon as possible.

      21.    On the morning of August 8, 2018, Ms. Mula met with Ms. Wible. Ms.

Wible stated that Mr. Cruz and Mr. Ortiz informed her that they wanted language on


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any written warnings or quality deviation investigations to omit words like

“falsification,” “dishonesty,” and “noncompliance.”

      22.    Later on August 8, 2018, Ms. Mula met with Mr. Ortiz who insisted

that she close her investigation within the next three days. Ms. Mula responded that

she was investigating serious allegations of falsification of records and would not

have her investigation subjected to an arbitrarily short deadline.

      23.    Following Ms. Mula’s meeting with Mr. Ortiz, she complained to Mr.

Ruth that she felt the Branchburg Site leadership was attempting to improperly

influence the outcome of her investigation. Mr. Ruth agreed with Ms. Mula and

permitted her to record the cases as cGMP violations and to issue written warning to

the employees in question.

                   September 2018 Wage and Staffing Complaint

      24.    On September 4, 2018, Mr. Ortiz and Ms. Mula learned of an

anonymous Ethics and Compliance hotline complaint relating to a possible wage law

violation at the Branchburg Site. During a meeting with Ms. Mula, Mr. Ortiz

declared an investigation into the incident was unwarranted because he suspected

the complaint had been filed by a Branchburg Site leader who frequently raised

similar concerns. Mr. Ortiz asked Ms. Mula to follow up with Mr. Ruth and “make

this go away.” Ms. Mula conferred with Mr. Ruth, to whom the case had been




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assigned, and he informed her that he would seek guidance from Lilly’s Legal

Department and did not require further information from her.

      25.    Mr. Ruth then proceeded to close out this complaint without

investigation.

      26.    On September 24, 2018, Mr. Ruth followed up about a related issue

after receiving an email from a compliance officer notifying him that the anonymous

complainant had raised additional concerns. Specifically, they noted that the “GMP

requirement that the site has [an] adequate and qualified number of employees to

complete the work” was “not being fulfilled.” The complainant went on to state that

“P6 and P4 level work is being completed by P2 and P3 who were unqualified.” Ms.

Mula told Mr. Ruth that if this were true, Lilly would not be complying with FDA

cGMP staffing requirements.

      27.    Later that day and with Mr. Ruth’s approval, Ms. Mula informed Ms.

Wible of these issues by telephone. After this call, Mr. Ortiz informed Ms. Mula that

she should not have informed Ms. Wible of the complaints and accused Ms. Mula

of “overreacting.” Mr. Ortiz then told Ms. Mula to inform Mr. Ruth that the case

should be closed without investigation. Ms. Mula refused and encouraged Mr. Ortiz

to discuss the matter with Mr. Ruth directly.




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                        October 2018 Staffing Investigation

      28.    On October 1, 2018, Ms. Mula received a hard copy of an anonymous

complaint from a Lilly employee citing various concerns, but primarily stressing that

Lilly failed to hire a sufficient number of employees to complete the required work.

      29.    After receiving this complaint, Ms. Mula informed Mr. Ruth that she

intended to open a new case and include the cGMP headcount requirement

comments from the September 2018 closed case. Mr. Ruth responded that he

“[d]efinitely supported opening up a separate case.”

      30.    When Ms. Mula later raised the complaint with Mr. Ortiz, he asserted

that he had already discussed it with Mr. Ruth and that Mr. Ruth had assured him

that an investigation was unwarranted. Mr. Ortiz reiterated his suspicions that

activist Branchburg Site leaders, Victor Goetz, Babita Parekh, and William Parson,

had filed the complaints and thus they were unfounded and the concerns had already

been addressed during confidential SLT meetings. Mr. Ortiz asked Ms. Mula to drop

the investigation. Ms. Mula recapped the history and importance of the issue and

explained to Mr. Ortiz that examination of the complaint was required.

      31.    Ms. Mula then asked Mr. Ortiz why he was unsupportive of opening an

investigation into the complaint. Mr. Ortiz shared that the next day it would be

announced that Mr. Cruz was being promoted to lead the manufacturing operations

in Puerto Rico and Brazil and the then-Senior Director of Engineering and


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Technology Nellie Clark (“Ms. Clark”) would be filling Mr. Cruz’s role as the

Branchburg Site Head. Ms. Mula understood that Mr. Ortiz was attempting to

prevent Mr. Cruz from being tarnished by an investigation while on the cusp of

promotion.

      32.    On October 3, 2018, Ms. Mula asked Mr. Ortiz if the Branchburg Site

Leadership Team (“SLT”) was on notice of the staffing concerns and related cGMP

investigation. Mr. Ortiz pushed back on Ms. Mula’s desire to inform the SLT of the

issue, asserting that she should “follow the established process you normally use to

complete an investigation.” Ms. Mula responded by noting that the complaints she

was investigating “are not related to wage concerns. They are allegations that the

site may not be in compliance with fundamental GMP requirement regarding

personnel qualification . . . Respectfully, I don’t think these facets of the initial

complaint have been adequately addressed by us at the site and further analysis is

required.”

      33.    Later in the afternoon of October 3, 2018, Ms. Mula emailed the Human

Resources Leadership Team (“HRLT”) to outline her concerns related to the

complaints about insufficient staffing.        Ms. Mula specifically stated that the

complaints involved allegations of “noncompliance with the GMP requirements

regarding Personnel Qualification ([21 C.F.R. § 211.25])” and noted that a “surge in

personnel related observations and deviations, resulting in significant media and


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product losses, is being attributed to job vacancies and incumbents who do not have

the elevated requirements to navigate an intensely regulated environment.” The

HRLT is a team comprised of the SLT, Associate Vice President of Organizational

Learning and Development Kristen Zemanek and Quality Assurance Change

Management Senior Specialist Gaius Mount.

      34.    Mr. Cruz admonished Ms. Mula’s for sending her concerns to the larger

HRLT group. Mr. Ortiz also separately contacted her to inform her that Mr. Cruz

was “not happy” with her persistence in pursuing an investigation on this regulatory

issue. Mr. Ortiz argued that because of Mr. Cruz’s contributions to the Branchburg

Site over his two years there, he deserved “a clean going away.”

      35.    On October 4, 2018, Ms. Mula and Mr. Ruth met and she raised several

concerns related to the staffing deficit at the Branchburg Site which posed regulatory

problems. Among other things, Ms. Mula shared details of Lilly’s violations of

federal regulations with Mr. Ruth, which demonstrated that: (1) the Manufacturing

and Quality Departments did not employ the required number of workers; (2) some

teams were operating without adequate supervision; (3) there were an inadequate

number of qualified and trained manufacturing operators to manage the Branchburg

Site’s two-suite operations1; (4) the Manufacturing Department was relying on an


1
 “Two-suite operations” refers to the number of drugs being manufactured at the
Branchburg Site. Due to constraints arising from adhering to SOPs and related
contamination issues, only one drug may be manufactured in a “suite” of facilities
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exorbitant amount of permanent overtime as a long-term solution; and (5) at least

three operators had worked over thirty-two (32) consecutive days, putting the health

and safety of the workers and customers at risk.

      36.    Also on October 4, 2018, Ms. Mula met with Ms. Gosen to review these

same findings. Ms. Gosen did not dispute that Ms. Mula’s findings were accurate.

      37.    In the afternoon of October 4, 2018, Ms. Mula met with Mr. Cruz and

Mr. Ortiz and shared her investigation’s findings with them. In response, Mr. Cruz

and Mr. Ortiz held an extended conversation in Spanish to ensure Ms. Mula would

not understand what was being said. Mr. Cruz concluded the meeting by disputing

the data Ms. Mula presented and stating that he would ask Ms. Gosen to conduct her

own examination into the issues.

      38.    On October 5, 2018, Ms. Mula learned from Ms. Gosen and another

executive that Mr. Ortiz had instructed them to refrain from cooperating with Ms.

Mula’s investigations into cGMP issues. Both Ms. Gosen and the other executive

were SLT members. Several Manufacturing and Quality Department supervisors

also told Ms. Mula that Ms. Gosen and Ms. Wible had told them that they should

alert the SLT and/or Mr. Ortiz before having any investigation-related discussions

with Ms. Mula and provide generic responses to any questions she asked.



at one time. Due to the size of the Branchburg Site, it maintains two suites in a
single location, which requires additional operators to staff each suite.
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      39.    After learning this information and receiving pressure from Branchburg

Site leadership, Ms. Mula emailed and met with Mr. Cruz and Mr. Ortiz to establish

strict parameters around confidentiality, including informing them that she would

not be sharing the details of her investigation with them.

      40.    Ms. Mula later learned that details of her investigations were in fact

being shared with members of the SLT by Mr. Ruth.

      41.    In the days following these exchanges, another supervisor in the

Manufacturing Department shared with Ms. Mula that insufficient staffing was

leading to the falsification of records, with employees falsely attesting in compliance

forms that a manufacturing process had been second-person verified, when only one

person had been present.

      42.    On October 11, 2018, Ms. Mula received a complaint regarding Lilly’s

Annual Product Reviews (“APRs”) which are required pursuant to 21 C.F.R. §

211.180.

      43.    Ms. Mula’s investigation made it clear that Lilly lacked the resources

necessary to competently complete the FDA-required APRs while attending to other

required tasks. It also raised further concerns related to staffing shortages causing

falsification of records as well as delays in testing and submissions. Ms. Mula

discovered that these staffing shortages were leading to rushed work, which could

lead to errors resulting in product deviations.


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      44.    Ms. Mula reported these findings to Mr. Ruth who instructed her to

weave the complaint into the previous cGMP violations investigation, which Ms.

Mula believed was designed to dampen the impact of the allegations.

      45.    Weeks later, Mr. Ruth conceded that a separate case was warranted for

these allegations. He then stated he would initiate the case and update it with Ms.

Mula’s documentation.

      46.    Ms. Mula also discussed the APR complaint and related staffing

concerns with Mr. Cruz during their monthly one-on-one meeting. She also raised

concerns related to reports circulating about undocumented material dumping.

      47.    Specifically, reports were circulating that Lilly employees had

improperly disposed of a large amount of buffer solution intended for use in Trulicity

without proper neutralization. These incidents were documented as observations to

avoid detection by regulatory agencies.

      48.    During this meeting, Mr. Cruz once again dismissed Ms. Mula’s

concerns related to staffing by asserting that he obtained data on the issue from the

Finance and Quality Departments and insisting that the material disposal had been

properly documented.

      49.    The FDA later investigated and determined that these incidents should

have been recorded as deviations not observations.




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      50.    On October 12, 2018, Ms. Mula informed Mr. Ruth that she continued

to experience a lack of cooperation from the Branchburg SLT, highlighting the fact

that the Branchburg leaders were expressly instructing Branchburg Site employees

not to communicate with her.

      51.    During this meeting, Ms. Mula also shared her preliminary findings

about the staff shortage issue and related overtime concerns.

      52.    Finally, Ms. Mula requested that Mr. Ruth permit her to partner with

Lilly’s Global Quality Assurance Auditing and Compliance team (“GQAAC”)

ahead of its planned audit of the Branchburg Site on November 11, 2018. Mr. Ruth

declined to approve her request, noting that he did not know the appropriate internal

contact at the GQAAC and was concerned by the idea of sharing Ms. Mula’s

investigation findings with GQAAC. When the audit occurred, Ms. Mula was

completely excluded.

      53.    On October 17, 2018, Ms. Mula copied Mr. Cruz on a tense email

exchange with Ms. Gosen which Ms. Mula sent in the course of her investigation.

In the email, Ms. Mula started by noting certain “generic” information Ms. Gosen

had provided “does not help ascertain if we are currently adhering to regulations.”

Ms. Mula then pointedly asked Ms. Gosen, “Can you with conviction confirm that

[the Manufacturing Department] is currently compliant with Sec. 211.25 Personnel




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Qualifications?” She added a series of related questions concerning the serious

staffing shortages she was investigating at the Branchburg Site.

      54.   After an exchange with Mr. Cruz, Ms. Mula asked Ms. Gosen to answer

her questions. Ms. Gosen asked to meet in person to discuss.

      55.   During this meeting, Ms. Gosen acknowledged that certain minimum

requirements and regulatory standards with respect to staffing were not being met

and that her requests for additional headcount had been denied. Ms. Gosen then

stated that she would not relay these viewpoints “on the record.” She explained that

she had drafted answers to Ms. Mula’s questions but was not comfortable sending

the drafted response. She stated she would sooner resign than disclose the severity

of the noncompliance at the Branchburg Site since Mr. Cruz and Mr. Ortiz began

leading it in 2017. When Ms. Gosen did respond in writing, her responses were

contrary to the facts she disclosed to Ms. Mula in person and constituted a

“whitewash” of the ongoing staffing shortfalls and chronic noncompliance. In fact,

when Ms. Gosen learned Ms. Mula planned to report Lilly’s violations to the FDA,

she resigned on May 3, 2019.

      56.   Ms. Mula continued to investigate these ongoing issues, and on October

23, 2018, she met with Ms. Wible to discuss the concerns related to material

dumping, insufficient staffing, and other cGMP issues. Ms. Mula also raised

concerns based on reports she had received from other Manufacturing Department


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employees who informed her they had been cautioned not to discuss, document, or

report irregularities or noncompliance.

         57.   In late October 2018, Mr. Cruz and Mr. Ortiz informed Mr. Ruth that

Ms. Mula would not be involved in GMP-related investigations and all of her

investigations were deemed “on hold.”

                      Trulicity Validation Protocols Investigation

         58.   On October 22, 2018, Associate Director of Validation Technical

Services Henry Hoehn informed Ms. Mula of missing binders of validation

protocols his team discovered during an initial protocol report review. A

validation protocol is a key FDA-approved document that details the

manufacturing process meant to ensure a consistent product with the claimed

specifications and quality. Ms. Mula opened an investigation into the issue.

         59.   During the course of the investigation, hundreds of original pages

were found missing, some of the documents were discovered dumpsters.

Ultimately, all but roughly fifty-two (52) pages of the original validation protocols

for the manufacture of Trulicity were recovered.

         60.   When Mr. Cruz learned that Ms. Mula was investigating the Trulicity

protocols, he sternly instructed her to “cease and desist from investigations risking

Dula.2” He noted that Lilly could face significant regulatory problems if “red


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    “Dula” is the Lilly shorthand for Dulaglutide, the generic name for Trulicity.
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flags” related to Trulicity were documented in Lilly’s Human Resources or Quality

databases.

      61.    Following this conversation, Ms. Wible advised Ms. Mula via email

and during an in-person meeting that she did not intend to create a deviation to

document the event, falsely asserting that only one document was missing and it

had since been located.

      62.    After Ms. Mula presented Ms. Wible with evidence of multiple

missing binders, Ms. Wible falsely told Ms. Mula that a Quality investigation had

been opened and provided her with a fabricated deviation number. Other

employees in Ms. Wible’s department subsequently informed Ms. Mula that no

deviation had been opened.

      63.    Ms. Mula escalated the issue by informing Vice President of Global

Quality Leanne Hickman (“Ms. Hickman”), Ms. Wible’s supervisor, that Ms.

Wible appeared to be misrepresenting information to her in an apparent effort to

conceal factual data from regulatory agencies. During her meeting with Ms.

Hickman, Ms. Mula also shared her concerns regarding several of the issues

related to insufficient staffing and resulting compliance issues.

      64.    Ms. Mula also informed Mr. Ruth that Mr. Cruz was attempting to

influence her investigation.




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      65.    Following her meeting with Ms. Mula, Ms. Hickman discussed the

identified issues with Senior Director of Human Resources, Raymond Muller

(“Mr. Muller”), Mr. Ruth’s supervisor. Ms. Hickman requested that the Quality

Department conduct an investigation into the issue without an accompanying

Human Resources investigation and further requested that Ms. Mula abandon her

push to initiate a deviation regarding the matter, noting that doing so would bring

“unwanted attention during regulatory inspections.” Mr. Muller acceded to these

requests and called Ms. Mula to inform her of the same.

      66.    During this call, Mr. Muller noted that her persistence regarding the

deviation was warranted and assured her that, despite Ms. Hickman’s complaints,

she had done nothing wrong.

      67.    Despite Ms. Wible’s earlier request that Ms. Mula not find a

deviation, Ms. Wible informed Ms. Mula that the Quality Department had decided

to initiate a deviation for the missing validation protocols. Ms. Wible stated that

she, Mr. Cruz, and Mr. Ortiz were “disappointed” that the matter was not handed

“locally without escalation to corporate.”

      68.    The FDA later investigated the missing validation protocols and other

violations reported by Ms. Mula to Lilly.

      69.    The FDA ultimately issued an Official Action Indicated (“OAI”)

notice in 2020 to Lilly, indicating that the serious problems disclosed by Ms. Mula


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were significant enough to pose an imminent health hazard.

                      Retaliatory Complaints against Ms. Mula

        70.   On October 24, 2018, Mr. Ruth informed Ms. Mula that Mr. Cruz

contacted him and stated that he and Mr. Ortiz could no longer work with Ms.

Mula. Mr. Ruth believed that the situation likely arose at least in part from the

heightened stress related to Ms. Mula’s investigations. Mr. Ruth told Ms. Mula to

stop working on all investigations involving alleged cGMP violations and asked

her to work from home over the next few weeks as Mr. Cruz and Mr. Ortiz did not

“want Ms. Mula at the site.” Ms. Mula did not comply with this request and

continued to work from the Branchburg Site.

        71.   During this call, Mr. Ruth shared that Ms. Wible and Mr. Ortiz had

made a series of “ridiculous” complaints against Ms. Mula, though he did not

disclose the substance of these complaints.

        72.   Ms. Mula later learned that Mr. Ortiz claimed Ms. Mula had implied

that he and Mr. Cruz were having an affair while Ms. Wible alleged that Ms. Mula

had attributed a negative slogan3 to Mr. Cruz which had spread throughout the site.

Neither allegation was true or credible.

        73.   On November 7, 2018, Mr. Ruth informed Ms. Mula that Mr. Ortiz

and Ms. Wible had formalized their complaints against her and, as a result, Mr.


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    The slogan was “EEOC= Eventual End of Caucasians.”
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Cruz requested that Ms. Mula be terminated. Mr. Ruth stated that no one other

than Mr. Cruz, Mr. Ortiz, and Ms. Wible believed these accusations were true and

that he believed that these individuals were embarking on a pretextual expedition

for misconduct to justify Ms. Mula’s termination.

      74.      During this conversation, Mr. Ruth asked Ms. Mula to close all of her

open cGMP-related investigations with determinations of “no violations,” as doing

so would help quell the conflict. Ms. Mula refused to do so.

      75.      On a call during the week of November 11, 2018, Mr. Ruth reiterated

his request that Ms. Mula close her open cGMP-related investigations with

determinations of “no violations,” and that doing so would help ease tensions with

Mr. Cruz and Mr. Ortiz. Ms. Mula again refused this directive, which she believed

to represent an effort to suppress evidence of Lilly’s noncompliance with FDA

regulations.

      76.      On November 15, 2018, Ms. Mula submitted a response to the

complaints by Mr. Ortiz and Ms. Wible. Mr. Ruth then notified her that Lilly

leadership, including Mr. Ruth, Mr. Muller, VP Manufacturing HR Sabrina Martin

(“Ms. Martin”), Senior Director, Ethics and Compliance Damon Strickland, and

Senior Vice President, Human Resources Stephen Fry (“Mr. Fry”), who were

involved in the investigation of these complaints, had closed the investigation

earlier that week with a “no violation” outcome. Mr. Muller later told Ms. Mula


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that leaders had also reviewed Ms. Mula’s claims of chronic noncompliance and

found them “far-fetched.”

      77.     Following Lilly’s closure of the investigation into Ms. Mula’s

reported violations, Mr. Ruth conveyed to Ms. Mula’s colleagues during two

separate visits to the Branchburg Site that Mr. Cruz was still pushing for her to be

terminated.

      78.     Four individuals, including two on the SLT, informed Ms. Mula that

while Mr. Ruth refused to terminate her, he was agreeable to eliminating her job

position. For example, Ms. Wible expressly informed Ms. Mula that Mr. Cruz was

“gunning for [her],” and that Mr. Ruth could not hold him off.

      79.     Further, members of the SLT also informed Ms. Mula that Mr. Cruz

had announced that Mr. Ruth agreed during his November 4, 2018, visit to close

out all of Ms. Mula’s pending regulatory investigations as “no violations.”

      80.     In mid-November 2018, the GQAAC came to the Branchburg Site as

scheduled. Ms. Mula was not included in their review or deliberations and was

removed from the Skype investigation chat and end-of-business updates that took

place during the audit. As the Branchburg Site’s Human Resources subject-matter

expert, this was the first time in twelve (12) years Ms. Mula had not been included

on these communications.




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      81.    During the week of December 2, 2018, Mr. Ruth traveled to the

Branchburg Site. During this visit, Mr. Ruth acknowledged that Mr. Cruz had

continued to press for her termination. He stated he proposed making her a remote

employee, but that Mr. Cruz and Mr. Ortiz insisted she be terminated.

      82.    During this visit, Ms. Mula also reminded Mr. Ruth that she had

uncovered serious compliance deficiencies and cGMP violations, despite attempts

of Mr. Cruz and others to thwart her investigations.

      83.    On February 15, 2019, Mr. Ruth emailed Ms. Mula to inquire about

the status of Ms. Mula’s investigation into material dumping that took place at the

Branchburg Site over a three- to four- month period in 2018. Ms. Mula responded

by providing Mr. Ruth with a detailed recounting of the progression of the

investigation in October 2018 and the retaliation she had experienced as a result,

including Mr. Muller’s decision to remove the investigation from her oversight.

She reminded Mr. Ruth of the severity of the underlying wrongdoing which

appeared linked to the lack of adequate staffing at the Branchburg Site.

                         Ms. Mula’s Retaliation Complaint

      84.    On December 5, 2018, Ms. Mula filed a complaint with Mr. Ruth

against Mr. Cruz, Mr. Ortiz, and Ms. Wible for their retaliatory actions. She

alleged Mr. Ortiz and Ms. Wible retaliated against her through their reports of




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baseless accusations against her as well as their efforts to prevent her from

performing her job duties and completing investigations.

      85.    Mr. Ruth forwarded Ms. Mula’s retaliation complaint to Mr. Muller.

On December 10, 2018, Mr. Muller and Ms. Mula had a meeting in which Mr.

Muller angrily expressed his displeasure with the situation. He asked Ms. Mula to

offer a resolution for the “dysfunctional environment you’ve gotten yourself into.”

He also demanded that she rescind her retaliation complaint without investigation.

When Ms. Mula refused to do so, Mr. Muller became agitated and eventually hung

up on Ms. Mula.

      86.    Following their conversation, Ms. Mula emailed Mr. Muller and

lamented his lack of professionalism in the face of her serious retaliation concerns.

      87.    On December 11, 2018, Mr. Ruth called Ms. Mula to discuss her

conversation with Mr. Muller. After discussing the call, Mr. Ruth stated that Lilly

intended to investigate her retaliation complaint and that an attorney would contact

her soon to obtain more information from her. Neither Lilly nor its attorneys

contacted Ms. Mula about this matter for the next two months.

      88.    On February 5, 2019, Ms. Mula informed Mr. Ruth that she had not

heard from a Lilly investigator or attorney regarding her complaint.

      89.    On February 8, 2019, Ms. Mula participated in an interview with

Susan Kline, an attorney from Fager Baker Daniels investigating Ms. Mula’s


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complaint on behalf of Lilly. During the interview, Ms. Mula provided information

relating to Lilly’s efforts to derail her investigations into regulatory investigations,

the baseless allegations against her, and other materials set forth in the retaliation

complaint. Ms. Mula also later provided Ms. Kline documentation evidencing her

concerns.

      90.    On March 25, 2019, Ms. Mula met with Monique Hunt McWilliams,

a member of Lilly’s Legal Department, and Ms. Kline to discuss their investigation

into the retaliation complaint. They informed Ms. Mula that they discovered no

wrongdoing on Lilly’s part, either with respect to the underlying wrongdoing or

subsequent retaliation.

    Ms. Mula’s Refusal to Sign Off on the Ethics and Compliance Declaration

      91.    During late-2018 and early-2019, high-level complaints were

circulating at Lilly suggesting that allegations of violations by Lilly in production

were not being properly investigated at manufacturing sites and that Lilly was

engaged in legal violations as a result. Due to these rumors, Lilly’s Ethics and

Compliance Department asked Senior Vice President, Manufacturing Darin Moody

(“Mr. Moody”) to sign off on an “Ethics and Compliance Declaration” which he

subsequently sent to Ms. Clark, who became the Branchburg Site Head in January

2019. Mr. Moody wanted Ms. Mula to sign off on the Declaration as well.




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      92.    On February 4, 2019, Ms. Clark asked Ms. Mula to confirm that she

had no open cases and that Lilly had investigated all reports made to her and

escalated when necessary. Mr. Ruth and Ms. Mula both found this request, a first

during their tenues with Lilly, odd.

      93.    Mr. Ruth responded to Ms. Clark, affirming that there were open

cases involving potential violations and asked to schedule a call.

      94.    Ms. Mula also informed Mr. Ruth that she could not agree to such a

statement because of her several open investigations related to cGMP violations

and potential ongoing violations.

      95.    When Ms. Mula failed to reply to Ms. Clark’s email, Ms. Clark called

her and insisted she submit a written response. In an effort to avoid getting off on

the wrong foot with Ms. Clark, Ms. Mula did not mention the many cGMP

investigations she had not been permitted to conclude and listed one example of an

open case. This example related to a January 16, 2019, “lockout/tagout4”

(“LOTO”) incident that could have resulted in a fatality from electrocution but was

not investigated or escalated. In a separate email to Mr. Ruth, Ms. Mula noted that




4
 A LOTO procedure refers to specific practices and procedures designed to
safeguard employees from the unexpected energization or startup of machinery and
equipment, or the release of hazardous energy during service or maintenance
activities.
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while this was “one reckless example of SLT failure to report” she “cannot confirm

that it is the only one.”

       96.    In a meeting after Ms. Mula’s response, Ms. Clark explained that

because Ms. Mula had informed Mr. Ruth of the LOTO violation, Ms. Clark had

no choice but to inform her manager, Mr. Moody, who asked that Ms. Mula

proceed with an investigation. Ms. Clark asked Ms. Mula to speak with her in

person, rather than in writing, on topics related to potential violations and

investigations, particularly where those allegations related to Trulicity.

                                  LOTO Violations

       97.    Following this meeting, Ms. Mula continued to investigate the LOTO

noncompliance. On February 26, 2019, Ms. Mula received an email from

members of the Maintenance and Engineering Departments informing her that the

LOTO incident arose from a persistent failure to follow LOTO-related SOPs. Ms.

Mula informed Mr. Ruth of this and noted that the Branchburg Site “historically

has not been performing the activities described in compliance with SOP

requirements.”

       98.    Subsequently, Ms. Mula, Ms. Clark, and Mr. Ruth held a meeting

where Ms. Clark informed Ms. Mula that she was displeased with Ms. Mula’s

findings of violations and recommendation for discipline. After Mr. Ruth dropped

off the call, Ms. Clark stated that she intended to meet with Mr. Ruth and ask that


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all documentation evidencing noncompliance with SOPs be “stricken” from Ms.

Mula’s investigation case notes and that Mr. Ruth reject Ms. Mula’s

recommendation for disciplinary action.

      99.    On March 11, 2019, Ms. Mula provided the LOTO investigation

findings to SLT members.

      100. In a meeting with Ms. Gosen and Ms. Clark, they asked Ms. Mula to

record the LOTO issue as performance-based rather than serious safety violation

(“SSV”).

      101. Ms. Mula escalated these issues to Mr. Moody who eventually

relented and agreed that an SSV and written warning were appropriate.

      102. In a subsequent meeting with Ms. Mula, Ms. Clark remarked that she

was unhappy with the level of detail Ms. Mula included in her written

communications with senior leaders. Ms. Clark stated that this did not allow her

“flexibility” with the outcome of the investigation. Ms. Mula understood this to

mean that Ms. Clark did not want evidence documented in writing so that she could

act in opposition to the evidence if she decided.

                       Trulicity Batch Release Investigation

      103. In or around March 2019, three PhD scientists working in Lilly’s

Quality Control Department informed Ms. Mula that Lilly was relying on

compromised data in making batch release decisions for Trulicity. They informed


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her that the data was being falsified and manipulated in a number of ways,

including: (1) improperly repeating tests in order to generate favorable results; (2)

relabeling and recycling samples from lots that had already passed; and (3) in some

cases, deleting unfavorable data altogether. The scientists noted that Lilly finally

detected this manipulation of data and the resulting substandard batch in one of the

last tests prior to release, meaning that the discarded batch resulted in losses

between $8 to $10 million.

      104. Specifically, with respect to the deletion of unfavorable data, testers

were declining to report impurity test results that showed an “out of specification”

result, used unvalidated calculations to generate acceptable results, which enabled

them to release batches based upon manipulated “passing” data. Significant

integrity and procedural violations were obscured by Lilly due to multiple issues

and vulnerabilities related to quality systems operations.

      105. These issues were raised on the heels of the resignations of six trained

quality control analysts over an eight-month period, which had resulted in Lilly

being forced to rely on unqualified and under trained technicians to conduct tests.

Some of these analysts resigned due to the falsifications they were observing.

      106. Ms. Mula informed Mr. Ruth of this report by the Lilly scientists. Ms.

Mula noted to Mr. Ruth that: (1) the Vice President of Quality Control position had

been vacant for 10 months, which had potentially created opportunities for


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noncompliant activities in the absence of meaningful oversight; (2) a compliant

program would have detected the contamination much earlier, which would have

greatly reduced the financial impact to Lilly; (3) the allegations were consistent

with related issues Ms. Mula had identified, investigated, and notified Mr. Ruth of

in the fall of 2018; and (4) if the allegations were accurate, Lilly needed to initiate

a major nonconformance event (“NCE”) and inform regulatory agencies of the

issue.

         107. Within the next week, Mr. Ruth informed Ms. Mula that he had

spoken to one of the complainants, had many discussions with Ms. Clark and Ms.

Gosen, and had determined that the situation was less troubling than it looked

when it was presented to Ms. Mula. Mr. Ruth also declined to raise the matter with

Lilly’s Vice President of Quality Control Luis Alves.

         108. Around the same time, Ms. Gosen met with Ms. Mula to express

concerns about the allegations that Lilly was not accurately determining

pharmaceutical stability of its products and asked what details Ms. Mula could

provide. Ms. Mula relayed the details relating to Trulicity and reminded Ms.

Gosen of the multiple issues in the Manufacturing Department dating back to 2018

that had never been explained, examined, or addressed. Ms. Gosen acknowledged

that there had been an increase in “cutting corners” in the Manufacturing and

Quality Departments due to staffing issues and Trulicity supply demands.


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      109. During the week of March 18, 2019, Ms. Mula met with Ms. Clark

who accused Ms. Mula of being responsible for the $8-$10 million Trulicity

product loss. Ms. Clark stated that given Trulicity’s tremendous revenue

generation and sales growth for Lilly, “we don’t want to mess with Trulicity.” Ms.

Mula responded that if Lilly was knowingly manipulating quality control results

for Trulicity, then the quantity and strength of the product that Lilly was

distributing was substandard and Lilly could be subjected to serious lawsuits, such

as a False Claims Act lawsuit, or regulatory penalties by the Government.

      110. Ms. Clark then told Ms. Mula that she now understood why Mr. Cruz

wanted to have Ms. Mula removed from the Branchburg Site. She also said that it

was not Ms. Mula’s job to evaluate risk; instead that was the job of leadership and

they had made the decision to protect Trulicity against such allegations. She then

told Ms. Mula that because Mr. Ruth had refused to comply with the requests of

the Branchburg leadership to remove Ms. Mula from the Site, she would

“resurrect” the request and escalate it to Ms. Martin.

      111. Later that day, Ms. Mula spoke with Mr. Ruth and informed him of

Ms. Clark’s threats to remove her for her opposition to legal violations relating to

Trulicity. Mr. Ruth confirmed that Ms. Clark was upset by Ms. Mula’s comment

that batches of Trulicity may be “substandard,” to which Ms. Mula repeated her




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concerns that the quality, purity, and safety of many batches of the drug were

uncertain.

               Lilly’s Retaliatory Elimination of Ms. Mula’s Position

      112. On February 28, 2019, Mr. Ruth emailed Ms. Mula to inform her that

he had rated her as “sufficiently met expectations” in 2018. Despite this, Mr. Ruth

informed Ms. Mula that Lilly had not awarded her a merit increase. With the

exception of two years during which time Lilly had frozen salary increases for all

US-based employees, this was the first time in Ms. Mula’s fifteen years of

employment with ImClone and Lilly that she did not receive a merit increase.

      113. On March 26, 2019, the day after Lilly’s attorneys concluded their

alleged investigation of her retaliation complaint, Mr. Ruth sent her an invitation to

a Skype call for March 28, 2019.

      114. On March 28, 2019, Ms. Mula arrived at her office and noticed that a

locked drawer in her desk had been emptied. Among the missing items was her

Trulicity investigation file, which included information related to the out-of-

specification testing results; the shortage of qualified analysts to conduct required

testing; documentation irregularities; and other procedural violations.

      115. During her meeting with Mr. Ruth, he informed her that Lilly had

eliminated her position. He explained that Lilly had decided to centralize its

Employee Relations services to Indianapolis. He informed Ms. Mula that he was


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not part of the “decisional unit,” and could no longer push off the decision due to

“pressure from the business.”

      116. Mr. Ruth repeatedly made it clear that Lilly’s decision was not

performance related, a position reiterated in a letter Lilly sent to Ms. Mula months

later. Mr. Ruth stressed that he had been “very impressed” by her during his time

as her supervisor, noting that he had never received negative feedback about her

before October 2018, i.e., when the backlash arose to Ms. Mula’s opposition to

systematic, regulatory non-compliance at the Branchburg Site.

      117. Mr. Ruth later informed Ms. Mula that those in the “decisional unit”

included: Ms. Martin, the individual to whom Ms. Clark escalated her

“resurrected” request to remove Ms. Mula from the Branchburg Site after she

pressed Ms. Clark about Trulicity-related compliance issues; Mr. Fry, Ms. Mula’s

third-level supervisor; and Mr. Moody, Ms. Martin’s, Ms. Clark’s and Mr. Cruz’s

supervisor.

      118. On the date of Ms. Mula’s conversation with Mr. Ruth, external

security contractors monitored Ms. Mula’s movements throughout the Branchburg

Site at the request of Mr. Ortiz, Ms. Clark and Mr. Cruz. One such contractor

almost followed Ms. Mula into the women’s restroom, and another followed Ms.

Mula by car during part of her commute home.




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        119. Ms. Mula’s position was eliminated, effective April 1, 2019. She was

given a reallocation period beginning April 5, 2019, and continuing until June 28,

2019.

        120. In mid-April 2019, Ms. Mula’s employee badge was disengaged and

she was placed on a security “look-out list” thereby interfering with her ability to

meet with Lilly employees during the reallocation period. This occurred ahead of

Mr. Fry’s planned visit to the Branchburg Site in May 2019 where he committed to

meeting with Ms. Mula to address concerns she had regarding her job elimination

and accusations of non-investigations. Ms. Mula was also unable to recover

certain personal items left in her office.

        121. A few weeks after Ms. Mula’s position was eliminated, during her

reallocation period, Ms. Wible hosted an off-site gathering with several current and

former Lilly Quality Department employees who could be in a position to

influence Ms. Mula’s ability to obtain employment during the reallocation period.

She informed these individuals that Ms. Mula’s departure from Lilly had been a

“termination disguised as a job elimination,” due to Ms. Mula’s inability to “get

along” with leadership at the Branchburg Site. Ms. Wible expressed relief that Ms.

Mula was gone.

        122. All conditions precedent to the filing of this lawsuit have been

met, have been satisfied or have been waived.


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       123. This action is timely filed as it is brought after the termination of a

tolling agreement between Plaintiff and Defendant entered into on September 19,

2019 (the “tolling agreement”) by proper notice on May 24, 2022. The tolling

agreement suspended the limitation period on Plaintiff’s claim herein from

September 19, 2019 through June 3, 2022.

                                    COUNT I
      (Retaliation in Violation of the New Jersey Conscientious Employee
                    Protection Act, N.J.S.A. § 34:19-1 et seq)

       124. Plaintiff incorporates by reference and realleges each and every

allegation contained in paragraphs 1-123 of this Complaint with the same force and

vigor as if set out here in full.

       125. The CEPA provides, in relevant part, that an employer may not take

retaliatory personnel action against an employee who objects to, or refuses to

participate in any activity, policy, or practice which the employee reasonably

believes is in violation of a law, or a rule or regulation promulgated pursuant to

law, or is fraudulent or criminal, including any activity, policy or practice of

deception or misrepresentation which the employee reasonably believes may

defraud others; or is incompatible with a clear mandate of public policy concerning

the public health, safety or welfare.

       126. Additionally, the CEPA provides, in pertinent part, protection of an

employee that discloses, or threatens to disclose to a supervisor or to a public body


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an activity, policy, or practice of the employer that the employee reasonably

believes is in violation of a law, or a rule or regulation promulgated pursuant to

law, including any violation involving deception of, or misrepresentation to, any

shareholder, investor, client, patient, customer, employee, former employee, retiree

or pensioner of the employer, or any governmental entity, or, in the case of an

employee who is a licensed or certified health care professional, reasonably

believes constitutes improper quality of patient care; or is fraudulent or criminal,

including any activity, policy, or practice of deception or misrepresentation which

the employee reasonably believes may defraud any shareholder, investor, client,

patient, customer, employee, former employee, retiree or pensioner of the

employer or any governmental entity.

      127. Plaintiff Mula is an “employee” as defined under the CEPA.

      128. Defendant Lilly is an “employer” of Plaintiff as defined under the

CEPA.

      129. As described above, Plaintiff objected to, and reported to her

supervisors, Defendant’s serious violations of law, rule or regulation, including but

not limited to the issues surrounding the manufacture of drugs at Defendant’s

Branchburg Site that Plaintiff reasonably believed were occurring.




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      130. As described above, Plaintiff’s objections included violations involving

deception of, or misrepresentation to, any shareholder or investor of Defendant Lilly,

a public company with stockholders.

      131. The laws, rules, or regulations violated by Defendant as well as

deception and misrepresentation, as set forth herein, are within the meaning of the

CEPA.

      132. At all times relevant herein, Plaintiff reasonably believed that

Defendant’s acts and omissions were violations of laws, rules or regulations and she

objected to, and refused to participate in, Defendant’s activities, policies and

practices alleged herein.

      133. Defendant took intentional retaliatory action against Plaintiff, including

but not limited to termination of her employment, because Plaintiff objected to, and

refused to participate in, Defendant’s activities, policies and practices alleged herein

that are in violation of the CEPA.

      134.     The acts and omissions committed by Defendant Lilly directed against

Plaintiff Mula were willful, wanton, intentional, conscious and malicious, and in

deliberate disregard of Plaintiff’s rights.

      135. Furthermore, the retaliatory acts by Defendant Lilly against Plaintiff

Mula were based upon Plaintiff Mula’s protected activity under CEPA and were

especially egregious. At all times relevant herein, Defendant Lilly’s upper


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management employees, including those in the SLT, actually participated in, or were

willfully indifferent to, the wrongful conduct perpetrated against Plaintiff Mula.

      136. As a direct and proximate result of the unlawful retaliatory actions of

Defendant, Plaintiff Mula has suffered and will continue to suffer damages,

including lost wages, benefits and entitlements, damage to her career and reputation,

personal humiliation, mental anguish, and embarrassment, and other compensatory

and punitive damages.

      WHEREFORE, Plaintiff Amrit Mula respectfully requests that this

Honorable Court grant the following relief:

      (A)    Enter judgment on behalf of Plaintiff against Defendant on all counts

      herein;

      (B)    Award Plaintiff reinstatement and other injunctive relief due to

      Defendant’s wrongful termination of her employment plus pre- and post-

      judgment interest;

      (C)    Award compensatory damages to Plaintiff making her whole, including

      for mental and emotional distress, mental pain and suffering, humiliation, loss

      of dignity, loss of enjoyment of life, expenses, damage to her career and

      reputation;

      (D)    Award Plaintiff punitive damages for Defendant’s willful violations;




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      (E)   Award to Plaintiff reasonable attorneys’ fees, costs of suit, all litigation

      costs allowable, and pre-judgment and post-judgment interest; and

      (F)   Grant such other relief to Plaintiff as this Court may deem fair and just.

                         REQUEST FOR JURY TRIAL

      Plaintiff demands a trial by jury on all issues so triable.

Dated: June 6, 2022                        Respectfully submitted,


                                           /s/Neil L. Henrichsen
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